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May 6, 2021

By ECF

Hon. Paul W. Grimm
United States District Court
District of Maryland
6500 Cherrywood Lane, Suite 465A
Greenbelt, Maryland 20770

Re:     Estate of Ke Zhengguang v. Stephany Yu, 8:18-cv-03546-PWG (D. Md.)
        Estate of Ke Zhengguang v. Stephany Yu, 8:20-cv-02260-PWG (D. Md.)

Dear Judge Grimm:

       We write on behalf of respondent Stephany Yu in the above two consolidated cases to
provide the Court an update on relevant developments. In both cases, the petitioner, the estate of
Chinese businessman Ke Zhengguang (the “Estate”), is seeking to enforce arbitration awards
issued from the same Hong Kong arbitral proceedings. Before the Court are competing
applications from the Estate and Ms. Yu as to the proper form of a final Judgment. (ECF Nos. 70-
73.)

        A key dispute is whether the arbitral tribunal awarded post-award interest against the
arbitral respondents (including Ms. Yu) with respect to certain contingent payments arising from
“Order 8” of the initial award. This payment is conditional on specific steps being completed
relating to the separation of the parties’ interests in a real estate business in China.

        Ms. Yu has argued that (1) the awards’ plain language requires only certain fixed periods
of pre-award interest for Order 8; (2) regardless, Ms. Yu has acted in good faith at all times to
advance the Order 8 conditions, only to be faced with manufactured impediments from the Estate;
and (3) an enforcement court would be in a better position to entertain an application for interest
once the Order 8 conditions are satisfied and a complete record of the intervening events is before
it. The Estate’s position, that the tribunal intended to apply post-award interest on Order 8, would
require Ms. Yu to bear the cost for all delays, even those intentionally caused by the Estate.

        There are two developments bearing on the above.
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        First, on April 29, 2021, Ms. Yu filed claims in the Hong Kong Court of First Instance
seeking to enforce the arbitral awards against the Estate and Xu Hongbiao (the second claimant in
the arbitration), and specifically to compel the Estate’s cooperation in completing the conditions
to the Order 8 payment. (See Exhibit A). This first development is relevant to the application
before the Court because: (1) it provides further evidence that Ms. Yu is proactively trying to
advance the arbitration awards; (2) it brings all three essential parties into the same enforcement
action; and (3) the Hong Kong court is a special court with wide latitude to interpret arbitration
awards under common law principles, and has experience in Chinese local and international laws
and Mandarin, making it particularly suited to hear the issues in this case, including those
surrounding Order 8.

        Second, in our briefing on the form of final judgment, we noted that the Estate is actively
working to impede the satisfaction of the Order 8 conditions in China, including by successfully
opposing a litigation in China brought, at Ms. Yu’s direction, by Greencourt Properties Limited
(“HK Greencourt”) to move forward certain corporate transactions that are among the Order 8
conditions. The Estate defended the case with a new argument that was inconsistent with its
position throughout the arbitration, and inconsistent with the arbitration award itself. (See ECF
70, at 5-8, 13-15.) On April 20, 2021, a Chinese Superior Court agreed to hear HK Greencourt’s
request for a retrial, giving Ms. Yu further opportunity to move these disputes forward in China.
(See Exhibit B).

        Taken together, these two developments confirm that the facts surrounding the issue of
post-award interest are complex and evolving, and better addressed on the type of complete record
that will be before the court in Hong Kong.

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       We thank the Court for its consideration of these matters.

                                                     Respectfully,

                                                    /s/ Michael J. Baratz
                                                    Michael J. Baratz (Bar No. 16391)

                                                    /s/ Charles Michael
                                                    Charles Michael
                                                    (signed by Michael J. Baratz with permission
                                                    of Charles Michael)
                                                    (Admitted Pro Hac Vice in 8:18-cv-03546;
                                                    and 8:20-cv-02260)

                                                    Attorneys for Respondent Stephany Yu

cc:   All Counsel of Record
      (by ECF)
